          Case 1:20-cv-11434-NMG Document 29 Filed 03/31/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


HECTOR MORALES,              )
                             )
    Plaintiff,               )
                             )
v.                           )                       Civil Action No. 1:20-cv-11434-NMG
                             )
FEDERAL EXPRESS CORPORATION, )
                             )
    Defendant.               )


                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


        Defendant Federal Express Corporation (“FedEx”), pursuant to Rule 56 of the Federal

Rules of Civil Procedure and the Local Rules for the U.S. District Court for the District of

Massachusetts, files its Motion for Summary Judgment (“Motion”) as follows:

        Plaintiff Hector Morales (“Morales”), a former FedEx courier, alleges he was subjected to

discrimination based on his race (Hispanic) and retaliation for complaining to management about

disparate treatment in violation of 42 U.S.C. § 1981 and M.G.L. c. 151, which led to the

termination of his employment.

        FedEx denies Morales’ claims. The undisputed facts show FedEx had a legitimate, non-

discriminatory, non-retaliatory reason for terminating Morales’ employment. Morales had a

history of disruptive behavior that caused him to be disciplined and eventually terminated from his

employment with FedEx.        Neither Morales’ race nor any alleged complaints he made to

management were factors in the decision to terminate his employment.




                                                1
Doc #1573139
          Case 1:20-cv-11434-NMG Document 29 Filed 03/31/22 Page 2 of 3




        Additionally, Morales’s § 1981 claim is time barred because he contractually agreed to

bring any legal action against FedEx within 6 months from the date of the event forming the basis

of the claim.

        There is no genuine dispute as to any material facts and FedEx is entitled to judgment as a

matter of law. For the reasons set forth herein and in its contemporaneously filed Supporting

Memorandum, FedEx’s Motion should be GRANTED, all Morales’s claims should be dismissed

with prejudice, and FedEx should be granted such other relief as it may show itself entitled.

DATED: March 31, 2022

                                             Respectfully submitted,


                                             /s/ Charles V. Holmes
                                             Charles V. Holmes (Admitted Pro Hac Vice)
                                             Brandon D. Pettes (Admitted Pro Hac Vice)
                                             FEDERAL EXPRESS CORPORATION
                                             3620 Hacks Cross Road
                                             Building B, Second Floor
                                             Memphis, TN 38125
                                             Telephone: 901.434.8485
                                             Facsimile: 901.457.6522
                                             charles.holmes@fedex.com
                                             brandon.pettes@fedex.com

                                             Lorenzo B. Cabantog (BBO# 692298)
                                             OGLETREE, DEAKINS, NNASH, SMOAK &
                                             STEWART, P.C.
                                             One Boston Place, Floor 35, Suite 3500
                                             Boston, MA 02108
                                             Telephone: 617.994.5700
                                             Facsimile: 617.994.5701
                                             lorenzo.cabantog@ogletree.com

                                             COUNSEL FOR DEFENDANT




                                                 2
Doc #1573139
          Case 1:20-cv-11434-NMG Document 29 Filed 03/31/22 Page 3 of 3




               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(A)(2)
        I hereby certify that, prior to making this motion, I conferred with counsel for Plaintiff by

telephone on January 26, 2022, for the purposes of attempting to obtain his consent to this motion

and/or to narrow the issues herein. Those efforts were unsuccessful.

                                                       /s/Charles V. Holmes
                                                       Counsel for Defendant



                                 CERTIFICATE OF SERVICE
        I hereby certify that on March 31, 2022, a copy of the foregoing was served via the Court’s

electronic system and via first-class mail upon:

                                            Mitchell J. Notis
                                      Law Offices of Mitchell J. Notis
                                            27 Harvard Street
                                          Brookline, MA 02445
                                          mitchnotis@aol.com

                                        Counsel for Plaintiff


                                                       /s/Charles V. Holmes
                                                       Counsel for Defendant




                                                   3
Doc #1573139
